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  12   Attorneys for Plaintiff LEHMAN
       BROTHERS HOLDINGS INC.
  13

  14                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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       LEHMAN BROTHERS HOLDINGS                     CASE NO. 2:16-cv-03167-JAK (PJWx)
  17
       INC.
  18
                      Plaintiff,                    TENTH JOINT STATUS REPORT
  19
             vs.
  20
       GUS CAFCALAS (aka Constantine
  21
       Cafcalas), SARAH GROSSMAN, YOO
  22   JOO LEE, HELEN CHOI, SAL SI
       PUEDES DE ESTA, SA DE CV, and
  23
       MAZ CALL, SA DE CV
  24
                      Defendants.
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   1           Pursuant to this Court’s October 23, 2017 Order Continuing Stay and Setting
   2   Date for an Updated Joint Status Report [Doc. 69], plaintiff Lehman Brothers
   3   Holdings Inc. and defendants Yoo Joo Lee and Helen Choi, through their respective
   4   counsel, hereby advise the Court as follows:
   5           1.     On October 11, 2017, District Court Judge John A. Kronstadt issued
   6   an (In Chambers) Order Accepting Report and Recommendation of Magistrate
   7   Judge (Dkt. 421) in the related matter entitled Lehman Brothers Holdings Inc. v.
   8   PMC Bancorp, Case No. CV 10-7207-JAK (PJWx). Judge Kronstadt awarded fees
   9   and costs to Lehman which are immediately due and payable.
  10           2.     Pursuant to the Stipulation for Temporary Stay of Litigation (Dkt. 43),
  11   Lehman and Defendants Lee and Choi agreed that this matter shall be resumed
  12   should PMC Bancorp fail to pay Lehman’s fees and costs within three weeks of the
  13   award (i.e. on or before November 1, 2017).
  14           3.     PMC Bancorp failed to pay Lehman’s fees and costs by November 1,
  15   2017.
  16           4.     Therefore, Lehman requests that the stay be lifted and placed on the
  17   Court’s active docket and that the Court issue an Order Setting Rule 26(f)/16(b)
  18   Scheduling Conference.
  19           5.     Lehman further requests that the Court set a hearing on its Motion for
  20   Default Judgment against defendants Gus Cafcalas (aka Constantine Cafcalas),
  21   Sarah Grossman, Sal Si Puedes de Esta, SA de CV, and Maz Call, SA de CV.
  22           6.     In response to Defendants’ position below, Lehman states as follows:
  23                 Defendants assert that the question of the fraudulent conveyance is
  24                  “best suited” for the initial action. But Defendants ignore (1) that in
  25                  order to address the Lehman’s fraudulent conveyance claims and the
  26                  requested relief, the Court must have jurisdiction over the transferees
  27                  and the properties; (2) that the instant action asserts new claims
  28                  beyond those raised in the initial action – claims pursuant to the
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   1                 voidable transactions act; and (3) that if the Defendants believed this
   2                 action should be dismissed for reasons of judicial economy or
   3                 otherwise, such request should be presented in the form of a motion,
   4                 not in the context of a status report. Notably, the Defendants did not
   5                 file a motion to dismiss in this action.       Further, the Defendants
   6                 previously agreed to stay the action [Dkt. # 43] simply to permit PMC
   7                 time to pay the fee award. The Defendants did not raise, at that time,
   8                 any concern about judicial economy.
   9                The Court has already conducted a fulsome analysis of whether
  10                 Lehman timely filed its fee motion [Dkt. # 421 at pp. 3-6], after which
  11                 the Court rejected the argument Defendants set out below.
  12   DEFENDANTS’ RESPONSE/POSITION TO THE COURTS IN CHAMBERS
  13    ORDER DIRECTING THE PARTIES THE PARTIES TO STATE THEIR
  14   RESPECTIVE VIEWS AS TO WHETHER THE STAY SHOULD BE LIFED
  15         7.      Defendant Lee and Choi believe that the stay in this current action
  16   should not be lifted, since it would be a waste of judicial resources and lead to
  17   inconsistent adjudications.
  18         8.      Plaintiff admits that it received payment made for the benefit of PMC
  19   Bancorp in the amount of the judgment on August 26, 2016, with said judgment
  20   amount supporting the claims against all Defendants for fraudulent transfer in this
  21   instant action. Thus, the balance of the case has been resolved, excluding the issue
  22   of attorney’s fees and costs.
  23         9.      The issue of attorneys’ is best suited for the Lehman Brothers
  24   Holdings Inc. v. PMC Bancorp, Case No. CV 10-7207-JAK (PJWx) court to
  25   decide.
  26         10.     A stay in the instant action will increase efficiency and avoid danger of
  27   inconsistent adjudications.
  28         11.     The only remaining issue is that of attorneys’ fees. Under Code of
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   1   Civil Procedure sections 685.040 and 685.080, a judgment creditor must bring a
   2   motion to claim costs in the original action, prior to full satisfaction. In this case,
   3   Defendant are informed and believe that Plaintiff made its motion after full
   4   payment for the benefit of PMC.
   5         12.    The timeliness of Plaintiff’s request for attorneys’ fees and costs and
   6   or all related issues should be determined solely by the court presiding over the
   7   PMC Bancorp action. For these reasons, Defendants Lee and Choi request the
   8   court continue the stay in the current action.
   9   Dated: November 2, 2017
                                                        By: /s/ Christopher P. Carrington
  10
                                                            Christopher P. Carrington
  11                                                          (pro hac vice)
                                                              Attorneys for Plaintiff Lehman
  12
                                                              Brothers Holdings Inc.
  13
                                                        By: /s/ Stephen D. Weisskopf
  14
                                                               Stephen D. Weisskopf
  15                                                           Attorneys for Plaintiff Lehman
                                                               Brothers Holdings Inc.
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  17                                                    By: /s/ Daniel M. Park
                                                               Daniel M. Park
  18
                                                               Attorneys for Defendants Helen
  19                                                           Choi and Yoo Joo Lee
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                                             PROOF OF SERVICE
   1
              I am co-counsel in this matter and am over the age of eighteen years, and not a party to the
   2
       within action. My business address is: Richards Carrington, LLC, 1700 Lincoln Street, Suite
   3   3400, Denver, Colorado 80203. On November 2, 2017, I served the document(s) as follows:

   4   X BY ELECTRONIC SERVICE: I caused such document(s) to be electronically filed in
       accordance with the electronic filing procedures of this Court; service has been effected upon the
   5   parties, whose counsel of record is a registered participant of CM/ECF, via electronic service
       through the CM/ECF system.
   6

   7   X BY U.S. MAIL: by placing the document(s) listed above in a sealed envelope with postage
       thereon fully prepaid, in United States mail in the State of Colorado at Denver, addressed as set
   8   forth in the service list below. I am readily familiar with the firm’s practice of collection and
       processing correspondence for mailing. Under that practice it would be deposited with the U.S.
   9   Postal Service on that same day with postage thereon fully prepaid in the ordinary course of
  10   business. I am aware that on motion of the party served, service is presumed invalid if postal
       cancellation date or postage meter date is more than one day after the date of deposit for mailing
  11   in affidavit.

  12   Gus Cafcalas (aka Constantine Cafcalas)
       P.O. Box 4130
  13   Diamond Bar, California 91765-0130
  14
       Sarah Grossman
  15   1522 Longview Drive
       Diamond Bar, California 91765
  16
       Sal Si Puedes De Esta, SA de CV
  17   c/o Sarah Grossman
  18   1522 Longview Drive
       Diamond Bar, California 91765
  19
       Maz Call, SA de CV
  20   c/o Sarah Grossman
       1522 Longview Drive
  21
       Diamond Bar, California 91765
  22
                I declare under penalty of perjury under the laws of the State of California that the above
  23   is true and correct.

  24          Executed on November 2, 2017 at Denver, Colorado.
  25
                                                             /s/ Christopher P. Carrington
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                                                             Christopher P. Carrington
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                                         TENTH JOINT STATUS REPORT
